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                       IN THE UNITED STATES DISTRICT COURT

                                 DISTRICT OF COLORADO

Civil Action No. 1:16-cv-01301-PAB-GPG

RCHFU, LLC et al.

Plaintiffs,

v.

MARRIOTT VACATIONS WORLDWIDE CORPORATION et al.


 PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO RESTRICT ACCESS
               TO CERTAIN SUMMARY JUDGMENT FILINGS


        Pursuant to Local Rule 7.2(d), Plaintiffs RCHFU, LLC et al. respectfully submit this

opposition to Defendants Marriott Vacations Worldwide Corporation, Marriott Ownership

Resorts, Inc., The Ritz-Carlton Management Company, LLC, The Cobalt Travel Company, LLC,

and Lion & Crown Travel Co., LLC (collectively, “Marriott Defendants’”) motion to restrict

access to Dkt. Nos. 442, 443, 444, 445, and 452 (“Motion”).

                                       INTRODUCTION

        The Marriott Defendants improperly seek to restrict dozens of documents on key issues

in this case and the parties’ motions for summary judgment – even though these documents do

not contain “trade secrets, or other confidential research development or commercial

information.” Stipulated Protective Order, Dkt. No. 100, ¶ 2. Nor do they contain any “sensitive

business information” as the Marriott Defendants suggest. Even if these documents include

sensitive commercial information, the presumption in favor of public access weighs against

restriction. The Marriott Defendants have failed to meet their burden in overcoming the

presumption in favor of public access, and the Motion should be denied.




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                                    DOCUMENTS AT-ISSUE

       The Marriott Defendants request to restrict from public access: (i) excerpted deposition

transcripts of important witnesses that do not discuss any trade secrets or confidential

information; (ii) communications between the Marriot Defendants and the Aspen Highlands

Condominium Association (“Association”) concerning the affiliation between the Ritz-Carlton

Destination Club and the down-market Marriott Vacation Club; (iii) internal Marriott documents

relating to the affiliation; (iv) various legal agreements that govern the relationship between the

Marriott Defendants and the Association; (v) governing documents, such as the Declaration of

Condominium for the Association; (vi) documents in the public record, such as the Amended and

Restated Articles of Incorporation of the Association; (vii) various nonprivileged analyses of the

affiliation; (viii) communications to and from Plaintiffs and other Aspen Highlands members,

including communications disseminated by the Marriott Defendants to the entire Aspen

Highlands membership; (ix) the Association’s objections and responses to Plaintiff’s Second Set

of Interrogatories and First Set of Requests for Admission; (x) and the reports of Plaintiffs’

expert Jon Simon and the Marriott Defendants’ rebuttal expert, Mark Israel. See Motion, Dkt.

No. 458, pp. 2-3.

       Most of these documents were created between 2001 and 2014. Any “sensitive business
information” is stale. These documents do not contain any trade secrets or proprietary,

confidential information, and the Marriott Defendants have not identified any such information

in any specific document, even with their overbroad and generalized concerns regarding

“sensitive business information.”

                                           STANDARD

       Local Rule 7.2 governs motions to restrict access. It provides that the movant must

“identify the document or the proceeding for which restriction is sought,” and “address the
interest to be protected and why such interest outweighs the presumption of public access.”



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Local Civ. R. 7.2(c)(1)-(2). Additionally, the party seeking restriction must identify a “clearly

defined and serious injury” and explain why there is no reasonable alternative to restriction (such

as redaction or restricted access to portions of exhibits). Id. at (3)-(4).

        The public has a fundamental interest in open access to court records. Eugene S. v.

Horizon Blue Cross Blue Shield of N.J., 663 F.3d 1124, 1135 (10th Cir. 2011) (“A party seeking

to file court records must overcome a presumption, long supported by courts, that the public has

a common-law right of access to judicial records”); M.M. v. Zavaras, 939 F.Supp. 789, 801 (D.

Colo. 1996) (“[S]ecret court proceedings are anathema to a free society.”). To justify depriving

the public of this fundamental interest, a party must articulate a “real and substantial interest.”

Helm v. Kansas, 656 F.3d 1277, 1292 (10th Cir. 2011).

        Therefore, to meet its burden of overcoming the presumption of public access, the

movant must “with particularity, and on a document-by-document basis, establish why access

should be restricted, including identifying the specific injury that would result if access to a

particular document is not restricted.” SOLIDFX, LLC v. Jeppesen Sanderson, Inc., 2012 WL

2917116, *7 (D. Colo. July 16, 2012) (denying a motion to restrict for “point[ing] generally to 39

exhibits comprising more than 250 pages and argu[ing] that those materials contain proprietary

information, or are part of a confidential business plan,” without specifying which documents
were at-issue); see also Arkansas River Power Auth. v. The Babcock & Wilcox Co., 2016 WL

192269, *3 (D. Colo. Jan. 15, 2016) (“A showing of compelling reasons for restriction of public

access is necessary, as it is critical that the public be able to review the factual basis of this

court’s decisions. . . .”). This burden is heightened when the materials at question may be used as

the basis for a judicial decision on the merits of the case. Lucero v. Sandia Corp., 495

Fed.App’x. 903, 913 (10th Cir. 2012); Charles Alan Wright, et al., Federal Practice &

Procedure §2042 (“The strongest arguments for access apply to materials used as the basis for a
judicial decision of the merits of the case, as by summary judgment.”).



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                                           ARGUMENT

       The Marriot Defendants have not met their burden under Local Rule 7.2 and Tenth

Circuit law to overcome the presumption of public access to records that may be used in a

judicial decision on the merits. In seeking to restrict over 60 exhibits and hundreds of pages of

documents, the Marriott Defendants state in a conclusory fashion that the documents contain

“sensitive business information.”1 This is a broad and generalized statement that does not satisfy

the particularity requirement that the law imposes. Arkansas River Power Auth., 2016 WL

192269, *3; Gunn v. WCA Logistics, LLC, 2016 WL 7868827, at *2 (D. Colo. Jan. 12, 2016)

(“Given the public’s interest in access to the central issues in a lawsuit, I do not believe

Defendants could have established, in any event, that their interest predominates in this

situation”); Jeppesen Sanderson, 2012 WL 2917116, at *7 (“[failing to specify] by document

which of these concerns is involved and why, as to that document, ‘a clearly defined and serious

injury . . .’ fails to satisfy the burden imposed by Rule 7.2”).

       Further, the documents at issue do not contain any trade secrets or confidential

documents. The Marriott Defendants have made no effort to identify any particular document or

specific information of concern. A motion to restrict must establish that the materials it seeks to

restrict reveal trade secrets or other proprietary information. Arkansas River Power Auth., 2016
WL 192269 at *7 (denying motion to restrict for failing to establish that discovery responses

reveal any trade secrets or other proprietary information). And given that these materials may be

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 The Marriott Defendants further suggest that prior orders on motions to restrict in this case are
somehow relevant here. In Dkt. No. 272, the Court ordered a level-1 restriction of documents
covered by attorney-client privilege that were proffered by the Marriott Defendants in support of
an assertion of privilege. See Dkt. No. 269 at 9. Dkt. No. 393 was a minute order restricting an
exhibit that was the subject of a pending motion to strike. In Dkt. No. 408, the Marriott
Defendants filed an unopposed request to restrict documents and supported their request by
substantially detailing the contents of the documents and the potential harm if they were made
publicly accessible. Dkt. Nos. 409 and 420involved essentially the same documents at issue in
Dkt. No. 408. Here, there are no documents covered by attorney-client privilege or subject to a
pending motion to strike, and the Marriot Defendants have made no showing of harm.


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used as the basis for a judicial decision on a summary judgment motion before this Court, the

Marriott Defendants must make a particularly heightened showing. Id. at *7; Lucero, 495

Fed.App’x at 913. The Marriott Defendants’ conclusory statements that there may be “sensitive

business information” fail to establish that the Marriot Defendants have a “real and substantial

interest that justifies depriving the public of access” to these critical records. Helm, 656 F.3d at

1292; Jeppesen Sanderson, 2012 WL 2917116 at *7 (denying a motion to restrict where the

Defendant “[A]rgue[d] . . . [that the documents at issue] including internal communications and

strategy documents, concern Jeppesen’s confidential business plans, [third parties], and

competitors . . . [and] discuss Jeppesen’s internal strategy” and stating that “the argument is

made too broadly and is too generalized to satisfy the requirements of [Local Rule 7.2].”).

         Finally, the Marriott Defendants fail to address any reasonable alternatives or attempt to

explain why only restriction will adequately protect their interests. Local Civ. R. 7.2(c)(4). If the

documents contain any “sensitive business information” (which they do not) such information

could be redacted.

                                          CONCLUSION

         For the above reasons, Plaintiffs respectfully request that this Court deny the Marriott

Defendants’ motion to restrict.

Dated:          August 14, 2019                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that on this 13th day of August 2019, a true and
accurate copy of the foregoing PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION
FOR LEAVE TO RESTRICT ACCESS TO CERTAIN SUMMARY JUDGMENT
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